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UNITED STATES DISTRICT COURT ESTE
DISTRICT OF MASSACHUSETTS sep ée ff 20 fit "G9
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) MASS
UNITED STATES OF AMERICA, )
)
Plaintiff, ) Civil Action No.
)
Vv. )
00 119 77D PW.
THE PRESIDENT AND FELLOWS ) CY.
OF HARVARD COLLEGE, ) ; lA
ANDREI SHLEIFER, ) weceeS F ~ a TAT
JONATHAN HAY, ) *ahOON mE ‘ye .
NANCY ZIMMERMAN, and ) San .
ELIZABETH HEBERT, ) ode ow .
)
Defendants. ) wee
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COMPLAINT AND JURY TRIAL DEMAND =~ | %
be oft
I. INTRODUCTION
1. The United States alleges that Harvard University (“the

President and Fellows of Harvard College” or “Harvara”) and its
employees, Andrei Shleifer and Jonathan Hay, defrauded the United
States out of at least $40 million dollars paid to Harvard to
provide impartial and unbiased advice in connection with a United
States’ assistance program jn Russia. The United States alleges
that Shleifer and Hay abused their positions 4s high-level and
trusted advisors to and on behalf of the United States in Russia,
and misused resources funded by the United States for their own
personal benefit and the personal benefit of their wives,
girlfriends and/or business associates. Harvard, which was paid

by the United States to provide impartial and unbiased

Case 1:00-cv-1 ag/-DPW Document 1-2 Filed Oe Page 2 of 25

administration and oversight of the assistance program in Russia,
failed in its obligation to provide such oversight, and instead
mismanaged and abused the resources entrusted to it by the United
States. As a result of Defendants’ misconduct, the United States
suspended and ultimately terminated the Harvard project in Russia.

2. The United States alleges that Defendants’ actions
undercut the fundamental purpose of the United States’ program in
Russia -~ the creation of trust and confidence in the emerging
Russian financial markets and the promotion of openness,
transparency, the rule of law, and fair play in the development of
the Russian economy and laws.

3. During the course of the Harvard project in Russia,
Defendants submitted and/or caused to be submitted to the United
States false and/or fraudulent bills and other statements. These
bills and statements falsely and/or fraudulently represented that
Harvard, Shleifer, Hay and others under their direction were
providing impartial, unbiased advice pursuant to policies which
forbade investments in Russia, and that Harvard was providing
services in accordance with the terms and conditions of its
agreements with the United States.

4, The United States paid at least $40 million to Harvard
because of Defendants’ false and/or fraudulent representations

that Harvard, Shleifer and Hay were providing services which were

free from bias and in accordance with the agreements between the

Case »00-cv gy OPW Document 1-2 Filed "@° Page 3 of 25

parties. The United States also paid at least $350 million to
other contractors under the oversight and supervision of Harvard.
II. JURISDICTION

5. This is an action for diversion of money paid under a
federal grant program, including claims for false claims, fraud,
and breaches of fiduciary duty. The case arises under the False
Claims Act, 31 U.S.C. §§ 3729 et seq., equitable principles and
common law. This Court has jurisdiction pursuant to 28 U.S.C. §
1345.

III. VENUE

6. Venue lies in the District of Massachusetts pursuant to
28 U.S.C. § 1391(b) and 31 U.S.C. § 3732(a), as the place where
one or more of Defendants reside and where a substantial part of
the events or omissions giving rise to the claim occurred.

IV. PARTIES

7. Plaintiff is the United States of America on behalf of
its agency, the United States Agency for International Development
(“USAID”).

8. Defendant Harvard is a non-profit corporation with a
principal place of business in Cambridge, Massachusetts. Its
operations at all relevant times included the Harvard Institute
for International Development (“HIID”), which implemented

Harvard’s contracts with the United States to assist developing

countries such as Russia. HIID is a part of Harvard and not a

Case hO-v gy PPw Document 1-2 Filed "eo Page 4 of 25

legally distinct corporate entity.

9. Defendant Andrei Shleifer (“Shleifer”) is an individual
now residing in Newton, Massachusetts. At all relevant times,
Shleifer was and is a tenured Professor of Economics at Harvard
and a full-time Harvard employee. Shleifer was the Principal
Investigator and Project Director for USAID funded agreements with
Harvard for work on economic and legal reforms in Russia (the
“Project”). As such, he had primary responsibility for proper
management of the Project, as well as the obligation to insure
adherence to all terms and conditions of the agreements with
USAID. During at least some periods of time, including the
summers of 1993 and 1994, as well as from July 1, 1995 through
August 31, 1996, Shleifer requested that he be “employed” under
the Cooperative Agreements, and during those periods was paid by
Harvard and billed by Harvard to USAID as a full-time employee on
the Project.

10. Defendant Jonathan Hay (“Hay”) is an American citizen
now residing in Moscow, Russia. From approximately 1992 to May
1997, Hay was a Harvard employee serving as Harvard's Moscow-based
representative (General Director) in charge of the Project. Hay
managed Harvard’s USAID funded operations in Russia and oversaw
the activities of many USAID funded consultants to the Russian

government. Hay reported directly to Shleifer.

11. At all relevant times, in connection with their actions

Case b00-cv- gg DPW Document 1-2 Filed me Page 5 of 25

related to the Project, Shleifer and Hay were acting within the
scope of their authority and/or their apparent authority based
upon their positions at Harvard.

12. Defendant Nancy Zimmerman (“Zimmerman”) is an individual
residing in Newton, Massachusetts. At all relevant times, she was
and is married to Defendant Shleifer. Beginning in June 1994,
Zimmerman operated an investment fund management company known as

Farallon Fixed Income Associates (“FFIA”) in Cambridge,

Massachusetts. FFIA was a joint venture between Fixed Income
Associates (“FIA”), a company owned by Nancy Zimmerman, and
Farallon Capital Management, Inc. (“Farallon Capital”), a separate

San Francisco based company which is associated with a number of
investment funds and partnerships bearing the Farallon name. Both
individually and through FFIA, Zimmerman was involved in a number
of investments and financial transactions in Russia and utilized
the USAID funded staff and resources of the Harvard project to
assist her with these investments.

13. Defendant Elizabeth Hebert (“Hebert”) is an American
citizen now residing in Moscow, Russia. She is married to
Defendant Hay, and has been together with him in a close personal
relationship since at least December 1995. She is the founder and
manager of Pallada Asset Management (“Pallada”), the Russian

mutual fund management company which received the first license to

operate a mutual fund in Russia.

Case hO0-ov grr Document 1-2 Filed "oe Page 6 of 25

V. FACTUAL BACKGROUND

14. After the Soviet Union dissolved in December 1991, the
United States began providing limited assistance to support reform
efforts in the states of the former Soviet Union. In October
1992, Congress enacted the Freedom for Russia and the Emerging
Eurasian Democracies and Open Market Support Act of 1992. 22
U.S.C. §8§ 5801 et seq. This Act authorized a program, to be
implemented primarily by USAID, to help the states of the former
Soviet Union carry out political and economic reform in support of
open markets, including “establishment of transparency in
regulatory and other governmental decision making.” 22 U.S.C. 8
5811(6) (B). USAID sought to accomplish the task, in part, through
two Cooperative Agreements with Harvard.

A. The Cooperative Aqreements

15. In December 1992, USAID and Harvard entered into the
first Cooperative Agreement, pursuant to which Harvard agreed to
provide advisory teams to assist Russia in efforts to privatize
assets held by the government. The scope of this Cooperative
Agreement was later expanded to provide support for legal reform
and capital market initiatives. The Cooperative Agreement stated
that “HIID’s role in the project is unique in that it...

operate[s] in a supervisory and regulatory capacity to the overall

project.” The Cooperative Agreement included a component for

Case Pow “gor Document 1-2 Filed ge Page 7 of 25

Harvard to assist in developing laws and regulations to “ensure
competition, transparency and fair play” in, among other things,
the development of the securities market.

16. Harvard signed a second Cooperative Agreement with USAID
in October 1995, entitled "Impartial Oversight and Strategic
Guidance for Privatization and Market Reform Programs in Russia,"
Harvard’s role was to provide strategic guidance to the capital
market development effort. This guidance included coordination
and impartial oversight over various contractors engaged by USAID
to provide assistance to Russian institutions. The Agreement
stated: “The ultimate success of these programs is of the utmost
importance to USAID and to the Government of Russia.” It also
provided that Harvard “shall provide unbiased input to, and
overall day-to-day management, review and evaluation of, the
privatization and market reform programs.” The Agreement further
provided that the “recipient must develop the complete confidence
and trust of the host government and also the array of donor
agencies” and that “a completely neutral third party, void of any
vested interest in the contracting process, is required.”

17. %In implementing these Cooperative Agreements, Harvard,
Shleifer and Hay undertook to act on behalf of the United States
in overseeing a program to provide advice to Russia, to act as

advisor to USAID on what policies to pursue, and to assist in

managing the privatization and post-privatization assistance

Case rowrgo Document 1-2 Filed eg Page 8 of 25

effort in Russia. By virtue of these undertakings, Harvard,
Shleifer and Hay owed fiduciary duties, including a duty of
loyalty and utmost good faith, to the United States. These duties
included the duty not to engage in any conduct which could result
in conflicts of interest, and to disclose any financial interests
they had in the matters within the scope of their advice and
IManagement .

18. Harvard, Shleifer and Hay understood that they had
undertaken to implement the United States’ strategic goals in
Russia and to act on behalf of USAID. For example, in its First
Quarter 1995 Performance Report to USAID, Harvard stated: “In the
first quarter of 1995, Professor Andrei Shleifer of Harvard
University continued to direct technical assistance on behalf of
the U.S. Agency for International Development through a
Cooperative Agreement with HIID.”

19. Similarly, in the 1996 Workplan submitted to USAID,
Harvard stated: “At all times, HIID will emphasize the strategic
policy objectives of the U.S. government.”

20. Shleifer himself explained the significance of this work
to the United States. In his 1995 book, Shleifer wrote:

Western governments give aid to Russia not because they

are charitable, but because their own national security

interests demand a stable and peaceful transition from

communism. Economic aid to Russia is probably the least

expensive and most effective form of defense spending by
either the United States or Western Europe.

Maxim Boycko, Andrei Shleifer and Robert Vishny, Privatizing

Case now gee Document 1-2 Filed Se Page 9 of 25

Russia 142-43 (1995).

B. Specific Conflict of Interest Prohibitions

21. In addition to the prohibitions against investing in
Russian markets which were inherent in their positions, Shleifer
and Hay were subject to government contract provisions, government
regulations and internal Harvard policies concerning impartial and
unbiased advice and conflicts of interest. For example, employees
of the grantee, Harvard, were prohibited by the specific terms of
the Cooperative Agreements from investing in a country in which
they were assigned work. Both Cooperative Agreements provided:

[N]o employee of the grantee shall engage directly or
indirectly, either in the individual’s own name or in
the name of or through an agency of another person, in
any business, profession, or occupation in the foreign
countries to which the individual is assigned, nor shall
the individual make loans or investments to or in any
business, profession or occupation in the foreign
countries to which the individual is assigned.

22. This Agreement also provided that any violation of the
policy had to be reported by Harvard to USAID.

23. %In addition, the Cooperative Agreements incorporated 22
C.FLR. § 226.42 or its similar predecessor provision. 22 C.F.R. §

226.42 provides:

iT]he recipient shall maintain a code of standards of
conduct that shall govern the performance of its
officers, employees or agents in the awarding and
administration of contracts using AID funds. Conflict
of interest situations involving employees, officers or
agents or their immediate families shall be avoided.

The recipients’ officers, employees or agents shall
neither solicit nor accept gratuities, favors or
anything of monetary value from contractors or potential

Case sooo Document 1-2 Filed ry Page 10 of 25

contractors.

24. HIID’s Overseas Manual, which was provided to USAID,
also contained a conflict of interest policy which restricted the
activity of HIID employees and members of their families when
conducting work in other countries. It provided:

HIID employees and members of their families may engage

in no financial transactions or investments within the

Project Country .... Such transactions or investments

include maintenance of savings accounts or the purchase

of savings certificates, holding of debt instruments,

maintaining any interest whatsoever in any local

business, or making investments of any kind in the

Project Country.

25. Harvard’s Faculty of Arts and Sciences, of which
Shleifer was a member, also had a conflict of interest policy
which required the disclosure of potential conflicts of interest,
including any relationship “that might enable a member to
influence Harvard’s dealings with an outside organization in any
way leading to personal gain or to improper advantage for anyone.”

26. %In its June 1995 submission to USAID in connection with
its proposal for the second Cooperative Agreement, Harvard
included a required Conflict of Interest Statement, which stated:

As a non-profit, academic institution, Harvard is

committed to maintaining an objective and unbiased

role.... In substance and principle, HIID already

provides impartial oversight under its current

Cooperative Agreement.

Cc, The Investments

27. While they were acting on behalf of USAID and under the

restrictions described above, Shleifer and Hay, along with

10

a , Case nore Document 1-2 Filed re Page 11 of 25

Zimmerman and Hebert, engaged in at least the following
investments and businesses in Russia in areas that were within the
scope of their economic and legal advice on behalf of USAID:

(i) In 1994, Shleifer and his wife Zimmerman invested
$200,000 through Renova-Invest, a United States/Russian
investment entity, in various Russian companies,
including an aluminum company for which Hay and others
funded by USAID later provided legal services. Through
Renova-Invest, Shleifer and Zimmerman also invested
$60,000 in Russian government debt (“GKO’s”);

(ii) Also in 1994, Shleifer, Zimmerman and Hay purchased
several hundred thousand dollars worth of shares in
Russian oil companies and had the shares registered in
the name of Shleifer’s father-in-law;

(lil) Hay, Zimmerman, Hebert and Shleifer participated in the
launching and financing of (i) Russia‘’s first licensed
mutual fund, which was started by a company (Pallada)
founded and managed by Hay’s then girlfriend (now wife)
Hebert, and/or (ii) Russia’s first licensed mutual fund
depository, the First Russian Specialized Depository
(“FRSD”), which was started by Hebert’s business
partner, Julia Zagachin;

(iv) Hay and Hebert participated in creating a real estate
advisory/property management firm to work with Hebert in
starting a real estate mutual fund, and to lease
properties to and manage properties for a project to
which Hay was a key advisor; and

(v) Hay assisted Zimmerman in her efforts to trade short
term Russian government bonds (“GKO’s”) and other
government debt and repatriate the profits from such
trades without paying the required Russian repatriation
tax, and used USAID funded staff and offices to set up
and operate a Russian trading company to implement this
scheme.

(i} Shleifer’s and Zimmerman’s Investment in Russian
Stocks Via Renova-Invest

28. On July 13, 1994, at a time when he was being paid for

full-time work on the Project with USAID funds, Shleifer and his

11

Case soo ee Document 1-2 Filed “oe Page 12 of 25

wife made a $200,000 investment in Russian stocks through a
company known as Renova-Invest (“Renova”), a United States/Russian
investment group.

29. .Specifically, ina July 13, 1994 letter, Shleifer agreed
to invest $200,000 in Russian securities through Renova. On the
same date, $200,000 was wired to Renova from an account of
Zimmerman.

30. The stocks purchased through Renova included many of
the major Russian companies which had been and were being
privatized under plans for which Shleifer was a key advisor.

These companies included Rostelcom, Gazprom, Irkaz, Sayansk,
Bratsk, Vladimir Tractor and Chernogoroneft.

31. In addition, in 1995, $60,000 of these funds and/or the
proceeds from sale of these stocks were invested in GKO’s (short
term government bonds) at a time when Shleifer, while being funded
by USAID, was involved in advising the Russian government on debt
policy and negotiations with the International Monetary Fund
concerning further extensions of credit to the Russian government.

32. Following these investments, USAID funds were used for
the benefit of the companies in which Shleifer and his wife
Zimmerman had invested. In 1995, Renova’s Russian affiliate
needed legal counsel in Russia to assist it in vertically merging
aluminum companies, including Irkaz, one of the companies whose

stock Renova had purchased for Shleifer. Based upon Shleifer’s

12

Case b00-cv- agg DPW Document 1-2 Filed "er Page 13 of 25

recommendation, Renova hired Hay and other USAID funded staff
working with Hay to perform these legal services.

33. Hay worked on the merger documents himself, and used
several USAID funded lawyers to work on the transaction. The time
spent by these lawyers working on this private merger was charged
to USAID.

34. In addition, Harvard's USAID funded projects provided
direct assistance to other companies in which Shleifer had
invested through Renova. Moreover, much of Harvard's work on
privatization and post-privatization issues such as market
development, taxation, budget, and competition policy had at least
a potential impact on the value of stock in these major Russian
companies.

(ii) Shleifer and Hay’s Oil Stock Purchases With
Farallon Capital and CentreInvest

35. Also in July 1994, Shleifer and Farallon Capital agreed
to purchase oil stocks in Russia. They agreed that for each
purchase, Shleifer would invest 10% of the funds and Farallon-
related entities would invest 90% of the funds.

36. Although Shleifer agreed to invest his own capital in
these oil stocks, he arranged for his investment in these stocks
to be concealed by having them held in the name of another. At
first this was to be Zimmerman, but the shares were ultimately
registered in the name of Zimmerman’s father.

37. Thus, Shleifer wrote, in the first of two memoranda

13

Case oon ere Document 1-2 Filed “eo Page 14 of 25

dated July 28, 1994:

The initial investment is anticipated to be $2 million,

with increase to $5 million if sufficient investment

opportunities are available. Andrei will invest 10

percent as his own capital, with shares to be registered

to Nancy Zimmerman.

Then, in a second July 28, 1994 memorandum, Shleifer changed this
language to “Shleifer will invest 10 percent as his own capital,
with shares to be owned by Nancy Zimmerman.”

38. True and accurate copies of the first and second July
28, 1994 memoranda described above are attached as Exhibit A and
Exhibit B respectively.

39. Farallon Capital and Shleifer made three sets of
purchases of oil stocks through CentreInvest in the late summer
and fall of 1994, In each instance, 90% of the shares were
purchased in the name of Farallon-related funds, and 10% were
purchased in the name of Shleifer’s father-in-law, with all or
some of the funds for Shleifer’s 10% coming from Shleifer, Nancy
Zimmerman and Hay, as set forth below:

(A) On August 11, 1994, Shleifer wired $165,000 from his

joint checking account with Nancy Zimmerman to a Channel
Islands bank for the purchase of 30,000 shares of the
Russian oil company Purneftegas.

(B) On August 31, 1994, Shleifer sent a $99,000 check from
his own money market account to his father-in-law, who
in turn wired $165,000 to a Channel Islands account for
the purchase of 5,000 shares of the Russian oil company
Yuganskneftegas.

(C) On September 20, 1994, Shleifer deposited a $66,000

check from Hay to Shleifer into Shleifer’s individual
account. At that time, there was approximately $3,000

14

Case hO0-cv ror Document 1-2 Filed "eo Page 15 of 25

in Shleifer’s account. Shleifer deposited an additional
approximately $6,000 in the account. No other funds
were deposited in that account prior to November 4,
1994. On November 4, 1994, Shleifer wired $19,000 from
this account to a Channel Islands account for the
purchase of 1,000 shares of stock of the Russian oil
company Varieganneftegas.

40. Out of the $19,000 wired by Shleifer to purchase the
Varieganneftegas shares on November 4, 1994, a minimum of slightly
less than $10,000 of Hay’s funds was used.

41. Nonetheless, approximately five months after the USAID
investigation into these matters began, in August 1997, Shleifer
sent a $66,000 check to Hay’s father with a note claiming that he
had not been able to put the funds to any “good use.” Although
Shleifer had the use of his subordinate’s funds for almost three
years, he paid no interest on the $66,000 to Hay.

42. Just before these oil stock purchases began, Hay
directed a USAID funded Harvard employee to do research on the
price of Russian stocks, including specifically gathering price
quotes on Russian oil stocks and reporting those to Hay ina
written memorandum. Hay also used another USAID funded employee
and a USAID funded contractor to have these oil stock purchases

confirmed in the Russian registries of the companies purchased.

(iii) Involvement in the First Russian Specialized
Depository and Pallada Asset Management

43. Beginning in late 1995 or early 1996, Hay, Hebert,
Shleifer, Zimmerman, and USAID funded Harvard employee Julia

zZzagachin, put together, promoted and/or financed a plan to launch

15

Case 1:00-cv- 1 @g/-DPW Document 1-2 Filed ool @gp° Page 16 of 25

the first Russian mutual fund management company (“Pallada”) and
the first Russian specialized depository (“FRSD”). These
businesses were predicted to be quite profitable and both required
licenses from the Russian Securities Commission, an entity which
Harvard, Shleifer and Hay helped establish and to which Harvard,
Shleifer and Hay were key advisors. Both Pallada and the FRSD
received the first operating license of their kind ever issued by
the Russian Securities Commission.

44, Hay actively solicited investments in Pallada and the
FRSD from Zimmerman, the Farallon companies and others. Hay
traveled to Boston to participate in some of the meetings with
representatives of at least one potential investor, Aldrich,
Fastman & Waltch and/or its affiliates (“AEW’”).

45. On or about March 29, 1996, Hebert sent to AEW affiliate
Commonwealth Property Investors (“CPI”) a business plan (the
“Business Plan”) to create a Russian domestic fund management
company to launch one of the first mutual funds in Russia. The
Business Plan for what was to become Pallada and the FRSD sought
investors to contribute $3.5 million in exchange for 30% of the
equity of the proposed company. The Business Plan predicted that
the company would generate $28 million annually in pre-tax profits
in the first five years of operation. It stated that the
management team would “consist of a Chief Executive Officer,

Elizabeth Hebert, and a Chief Operating Officer, Julia Zagachin.”

16

Case hO0-cv ger Document 1-2 Filed Oe Page 17 of 25

At the time, Zagachin was being paid as a full-time employee of
Harvard on the USAID funded Project under Hay’s supervision, while
in fact working on starting this private mutual fund and/or
depository business with Hebert.

46. Hebert and Zagachin planned to use their close
relationship with the Russian Securities Commission to which Hay
was a key advisor to gain a competitive advantage over other
funds. The Business Plan stated:

The timing is critical to ensure the Fund is able to
benefit from expected barriers to entry, the first of
which is an untested licensing procedure for the fund
management company. ... It is expected that the fact
that the team is well known to and trusted by the
regulators suggests that it will be able to facilitate
the issuance of licenses and clear other regulatory
hurdles which are expected to be a hindrance to
competitors.

47. Hebert also indicated that she and Zagachin intended to
use the services of the Institute for Law-Based Economy (“ILBE”),
a Russian affiliate of the Harvard Project under the direction of
Hay and largely funded by USAID. The Business Plan stated:

[I]t will also be important to develop solutions in
close co-operation with the Federal Commission which
intends to carefully regulate these functions. ... To
ensure full compliance the Institute for Law-Based
Economy (the Russian non-profit that drafted the
Regulations) has already been retained to provide advice
in the consideration of various options and to
facilitate the development of those options where
regulatory assistance is required.

48. Ina May 20, 1996 memorandum, Hay solicited investments

in the proposed mutual fund depository business. Attached as

17

Case 00 N@gyeorw Document 1-2 Filed ogre Page 18 of 25

Exhibit C is a true and accurate copy of the memorandum from Hay
to Zimmerman, except that the handwritten notes thereon were added
by Zimmerman. This memorandum was faxed from Hay’s office to the
office of Zimmerman.

49, In this solicitation memorandum, Hay stated that “we”
are seeking an investment of $1.2 million in the FRSD. In the
memorandum, Hay noted that the regulations governing mutual funds
“were drafted by the Russian legal team that I manage.” He touted
the likely success of the investment based primarily on its close
relationship with the Russian Securities Commission, and
specifically stated that “we are likely to get a license before
anyone else which will give a significant first mover advantage.”
Hay also stated: “Given this project’s relationship to the Federal
Commission, any other attempts by definition will be in a catch up
mode.”

50. In this memorandum, Hay described the proposed mutual
fund management company as part of a package together with the
proposed mutual fund depository (which was actually supposed to
act as an independent watchdog with respect to such mutual fund
management companies). Hay stated: “We are not interested in
your investment in the Specialized Depository unless this is
helpful to raise the funds needed to start the Fund Management
Company [being created by Hay’s girlfriend Hebert]” because, among

other things “we frankly want to start both of these things at the

18

Case hO00-cv- ger Document 1-2 Filed eS Page 19 of 25

same time and are tying our futures to this strategy.”

51. %In the memorandum, Hay also stressed the expected
profitability of the business. The memorandum stated:

[I]£ we were to assume that this Specialized Depository

has a large market share and that it were to process

millions of accounts, it would be an extremely

profitable operation! We are certainly well positioned

to achieve such success if Yeltsin wins the election and

the mutual fund industry booms in Russia (and we expect

both of these things to happen).

52. Beginning at least in early 1996, Zimmerman and/or
Shleifer planned to invest in Pallada and/or the FRSD. Zimmerman
planned to be the lead investor, assisted in the structuring of
the transactions, and solicited others to participate with her in
the investments, including AEW and/or its affiliates. Shleifer
had knowledge of at least some of these plans and attended at
least one meeting with AEW representatives where AEW’s and
Zimmerman’s potential investments in Pallada and the FRSD were
discussed. He and Zimmerman also traveled to Moscow to meet with
Zagachin, Hebert and Hay concerning these plans and investments,
and contributed funds for the financing of Pallada, as set forth
in greater detail below.

53. On or about May 1, 1996, Zimmerman wrote a memorandum
to Hebert and Zagachin in which Zimmerman stated that her
“investor group is interested in acquiring 49% of the depository

in exchange for $600,000.00 in equity investment. The investor

group would also put up $600,000.00 in exchange for 20% of the

19

Case 1:00-cv- Li@g/-DPW Document 1-2 Filed ool gee Page 20 of 25

mutual fund management company.”

54. On or about June 9, 1996, Shleifer wrote a memorandum
to Hay marked “Strictly Confidential” which stated: “Nancy and I
had a long talk. We are meeting with AEW on Tuesday PM. ...”

On the following Tuesday, June 11, 1996, Shleifer participated in
a meeting with Nancy Zimmerman and AEW representatives concerning
the proposed investment by AEW and Zimmerman in the depository and
mutual fund management company businesses being launched by
Hebert, Hay and/or Zagachin.

55. On August 16, 1996, the Russian Securities Commission to
which Shleifer and Hay were advisors modified the specialized
depository regulations to, among other things, permit a waiver of
the requirement for the manager of such a specialized depository
to have prior experience in investment funds. This modification
enabled Zagachin, who did not have such experience, to be such a
manager of the FRSD.

56. On or about August 19, 1996, Shleifer and Zimmerman
visited Moscow and had a closed door meeting with Zagachin, Hay
and Hebert. Approximately one week later, on August 27, 1996,
$400,000, including $200,000 which came from Jonathan Hay’s
account, was wired from the account of Jonathan Hay’s father to
Oasis Financial Services (“Oasis”), Zagachin’s holding company for
the FRSD.

57. On September 3, 1996, the $400,000 which had been

20

Case 1:00-cv- Lig@g/-DPW Document 1-2 Filed gre Page 21 of 25

transferred to Oasis by Jonathan Hay’s father was used to purchase
the FRSD for Julia Zagachin’s company (Oasis) from the prior
owner.

58. From that time until the time this USAID investigation
began in April 1997, Hay and his father provided the $400,000 of
required minimum capitalization for the FRSD. At the same time,
Hay continued to supervise regulations relating to FRSD, and to
direct technical assistance funded under separate contracts by
both USAID and the World Bank to the benefit of the FRSD. When
zagachin and Hay learned about the USAID investigation in late
March or early April 1997, the money was quickly repaid to Hay and
his father.

59. Although Hay and his father transferred the $400,000 to
Julia Zagachin’s company, Oasis, directly, the transaction was
documented as a loan from Hay’s father to Hebert, a loan from
Hebert to Zagachin, and a loan from Zagachin to Oasis.

60. Zimmerman and Shleifer provided funding and/or
capitalization for Pallada as follows:

(a) In or about November 1996, Zimmerman invested
approximately $500,000 of her company’s funds through
the first mutual fund created by Pallada. Shortly after
the USAID investigation began, in May 1997, the
remaining funds and profits thereon were repaid to
Zimmerman’s company.

(b) On February 25, 1997, Shleifer wired $200,000 from his
and Zimmerman’s joint account for the benefit of
Pallada. He wired approximately one third to Pallada’s

landlord and the other two thirds to Boston Capital
Management, the holding company for Pallada.

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Case 1:00-cv-1 @g/-DPW Document 1-2 Filed ool gee Page 22 of 25

61. The statutes and regulations governing the creation of
the Russian Securities Commission and the creation and licensing
of these mutual funds and depositories were, to a significant
extent, drafted by or in coordination with the USAID funded team
under the direction of Hay and Shleifer, which Hay described as
the “Russian legal team that I manage.”

62. In addition, during the same time period in which
Shleifer wired his and his wife’s funds to Pallada’s holding
company and Hay and his father’s funds were financing the FRSD,
Shleifer and Hay worked on matters pursuant to the Cooperative
Agreements relating to capital markets, including specifically the
tax treatment of mutual funds.

63. On or about February 26, 1997, just a day after he wired
the funds to Pallada, and at a time when the tax experts on the
Project had clashed with Hay over capital markets taxation,
Shleifer threatened to ostracize the chief tax expert. In
particular, Shleifer threatened to ensure that expert’s group
would be ineffective in Russia if that expert accepted USAID
funding for a Russian tax project independent of Shleifer and
Harvard.

(iv) Hay’s Creation of a Private Real Estate Firm

64. Beginning in the spring of 1996, while still employed
full-time on the USAID funded Harvard Project, Hay worked together

with Hebert and certain USAID and World Bank funded employees

22

Case 1:00-cv- Ligg/-DPW Document 1-2 Filed "gre Page 23 of 25

under his direction to start a real estate development and/or
property management business. This business was to team up with
Hebert’s mutual fund company and CPI to create a real estate
mutual fund and to develop and manage real properties in Russia.

65. As part of this plan, Hay was to deliver a public
program to which he was an advisor as an anchor tenant for some of
the properties his proposed private group would help develop.
Hay’s private group was to receive a portion of the profit from
the rents paid by the public program.

66. In furtherance of this plan, on April 19, 1996, Hay
faxed a memorandum to the CPI regarding the “Draft Terms of
Agreement”, in which Hay confirmed his proposal to “put together a
small team ... which would include myself ... to provide real
estate services to CPI.” Hay proposed to “form an entity jointly
with CPI ... that would have the goal of purchasing, developing
and managing real estate projects in Russia’s regions. ...” The
team would be compensated in part by equity in the real estate
projects developed, as well as payment on an hourly basis for
services rendered.

67. A true and accurate copy of the April 19, 1996
memorandum from Hay to CPI is attached as Exhibit D.

68. Hay also proposed that he and CPI work together with
Hebert to found a Russian real estate mutual fund. He wrote in

his April 19, 1996 memorandum:

23

Case 1:00-cv-11@y/-DPW Document 1-2 Filed gr Page 24 of 25

Real Estate Mutual Fund. The Real Estate Services Group

should also form together with CPI a domestic mutual

fund to invest in real estate. This project would

combine expertise of CPI, [Hay’s] Real Estate Services

Group, and piggyback on the mutual fund infrastructure

being created in the project with Elizabeth Hebert.

69. Subsequently, Hay and CPI had further discussions
concerning a proposed real estate venture and, in May 1996, CPI
confirmed its understanding that it would form a real estate
services company to be owned 50% by CPI and 50% by “Hay & Key
Russian Partners (50%).” One of the goals of this company was to
‘“[f]ind and package properties that CPI can purchase and lease,”
including to a public program to which Hay was an advisor. The
proposal specifically noted that “the lower the costs to buy and
the higher the rent, the earlier and higher will be [their]
profits.”

70. Thus, Hay was negotiating a deal by which he would
profit personally by charging higher rent to a public program
while he was serving as an advisor to and about the program.

71. In furtherance of this plan, Hay and other publicly
funded staff under his direction attended a meeting on behalf of
this real estate company, which was named Korona. At that
meeting, Hay and other publicly funded staff handed out Korona
business cards with their names printed on them and solicited
business for Korona. Hay also arranged for Korona to receive

contracts for managing the offices of the publicly funded advisory

organization he was overseeing.

24

Case 1:00-cv- Ligm/-DPW Document 1-2 Filed ogee Page 25 of 25

72. Hay was also involved in providing advice to the Russian
Securities Commission concerning the creation of a regulatory
scheme to permit mutual funds to invest in real estate, while at
the same time he was planning to participate in the creation of
such a mutual fund himself. Hay took USAID funded staff to
Siberia to view potential properties and charged their time and
travel expenses to USAID. Hay also used his USAID funded position
to assign World Bank funded staff to work for Hebert in launching
the proposed real estate mutual fund, and he permitted Hebert to

use USAID funded and/or World Bank funded office space for these

purposes.
(v}) Hay’s and Zimmerman’s Scheme for Hay, His Father
and FFIA to Trade Russian Government Bonds (GKO’'s)
Without Paying Repatriation Tax
73. %$Hay assisted Shleifer’s wife Zimmerman and others at

FFIA beginning in late 1995 or early 1996 in creating a scheme to
trade in short-term Russian government bonds (“GKO’s”), and to
repatriate the profits to the United States beyond the limits
otherwise permitted by the Russian currency exchange rules. At
the time, profits from GKO sales in Russia by foreigners were
subject to a substantial tax to prevent foreigners from taking the
high returns available on these bonds out of the country.

74. Hay and Zimmerman devised a scheme to repatriate the
profits from the GKO trades by disguising the profits as “loan

payments” so as to avoid the Russian repatriation tax. FFIA set

25

